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February 23, 2016
The Honorable Ann M. Donnelly
United States District Court
for the Eastem District of New York
225 Cadman Plaza East, Chambers N415
Brooklyn, NY 11201

Re: Eric Sorenson v. Sandra Simpson, l$-cv-46l4 (AMD) (SMG)

Dear Judge Donnelly:

This case concerns an attorney who worked tirelessly and largely successfully for his
sister-in-law7 Sandra Simpson, for 12 years, and was callously discharged without notification
when Simpson and his brother became estranged Although Defendant ultimately was awarded
$l million on her claims, Plaintiff Eric Sorenson was not paid a penny.

In 1987, Sandra Simpson (“Simpson”), a United States citizen, and Dr. Mustafa Karim, a
permanent resident of the United States who was born in Egypt, were cruising in the
Mediterranean when they were forced by an unexpected storm to anchor at the Benghazi port in
Libya. The Libyans proceeded to hold the couple hostage: Simpson for three months and Karim
for nine months. Karim died in 1993. Simpson subsequently married the brother of Plaintiff Eric
Sorenson (“Sorenson”), an attorney. ln May 1999, Simpson and the Estate of Karim (“Karim”)
retained Sorenson to prosecute their claims of unlawful abduction and illegal detention against
the Libyan government

Sorenson litigated the case against Libya from 1999-2008 in the U.S. District Court for
the District of Columbia, where he successfully defended three motions to dismiss by the Libyan
government7 and in the U.S. Court of Appeals for the District of Columbia, where he
successfully defeated Libya’s appeal of the District Court’s decision of two of the three motions
(the third was never appealed). This litigation consumed hundreds of hours of legal work on
Sorenson’s part and dealt with serious and complex issues of international law. See six decision
from the D.C. District and Appellate Courts in Simpson v. Soc)`alisl People’s Libyan Arab
Jamahz`riya at 180 F. Supp 2" 78 (200]), 326 F. 2d 230 (2003), 362 F. Supp 2d 168 ((2005),
2005 U.S. App. LEXIS 22458 (2005) , 470 F. 3d 356 (2006), and 529 F_ Supp 2d 80 (2008)
Which bear witness to the extent and persistence of Sorenson’s advocacy and the enormous
difficulties Sorenson had to overcome to maintain Simpson’s and Karim’s claims. The retainer
agreement during these years is attached to this letter as Exhibit A.

In 2008, Congress passed the Libyan Claims Resolution Act, Pub.L. No. 110-301, l22
Stat. 2999, (“LCRA”), which established an administrative tribunal7 the Foreign Claims
Settlement Commission (“FCSC” or “Commission"), to adjudicate claims like Simpson’s
against the Libyan government, but only on the condition that all prior litigation in U.S. judicial
forums be dismissed

The Federal action was duly dismissed and, in 2009, Sorenson and Simpson negotiated an
updated retainer agreement (Exhibit B). This new retainer reinstated the terms of the former
agreement, and added a provision to cover the eventuality of Simpson discharging Sorenson. The
2009 retainer states: “lfl (Simpson) terminate my attorney before a judgment or settlement that,

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in fact, does occur, I understand I will be liable for all his expenses and a reasonable fee for his
services.”

Sorenson continued to represent Simpson for two more years before the FCSC, filing six
claims on behalf of her and Karim. But around the time his brother and sister-in-law became
estranged, he was unceremoniously discharged without cause. Simpson never informed him of
his discharge and Sorenson found out only when he called the FCSC for an update on Simpson’s
claims.1 Simpson then hired the firm Winston & Strawn, Which, relying predominantly on
material created by Sorenson, was subsequently able to obtain an award of $1 million from the
Libyan Fund.

Defendant Sandra Simpson now argues that under Title 22 USCS sections 1621 et seq. an
attorney cannot claim more than 10% of the total amount paid, as Al J. Daniel states “in
connection with her Commission Claim.” But this wording distorts the actual phrasing of the
statute and ignores the common sense meaning of the legislative enactment Title 22 USCS
sections 1621 et. seq. provides:

Attorney’s fees; limitation. No remuneration on account of services rendered on
behalf of any claimant in connection with any claim filed with the Commission
under this title (22 USCS sections 1621 et.seq.) shall exceed 10 percentum of the
total amount paid pursuant to any award certified under the provisions of this title
...on account of such claim. (Emphasis supplied)

 

The clear import of this provision is that the attorney’s fees limitation applies only to Work
performed on any claim filed with the Commission.

This lawsuit does not seek remuneration for work on any claim filed with the
Commission. Here, Plaintiff seeks only a “reasonable fee” for work performed in Federal Court
on federal and state law claims. Defendant’s argument here would deny an attorney
remuneration for work which was performed even before the LCRA was enacted and prior to the
existence of jurisdiction for any claim before the FCSC. There is no support in statute or case
law for such a proposition

Nor is there any underlying rationale or precedent for limiting reasonable attorney’s fees
in complicated federal litigation where professional legal skills are virtually required By
contrast, the rationale behind the contested provision limiting attorney’s fees for work at the
FCSC is based upon the fact that the Commission was designed to be accessed by a claimant
without an attomey. lts procedures can be utilized without technical legal expertise

Sorenson’s claim, by the explicit terms of his Amended Complaint is not even measured
by the amount of Simpson’s recovery from the FCSC. The retainer agreement upon which
Sorenson bases his complaint in this action, originally a contingency agreement, automatically
and explicitly evolved into a “reasonable fee” or quantum meruit agreement when Simpson
discharged Sorenson in 2011.

The only case Plaintiff has found that has looked at this question has come down squarely
on the side of preserving l\/lr. Sorenson’s right to recover his fees7 regardless of the alleged
“immunity” of 90 percent of the award. ln Pan Am Flight 73 Liaz`son Group v. Davé, 711 F.
Supp 2d 13, survivors of a highjacking by Libyan-supported terrorists, both Americans and

 

1 Defendant's statement that Sorenson was dismissed because he violated her rights under 22 USC § 16 23f,
"and for other Well founded, but fact-bound reasons" is belied by Simpson's notification of change of counsel
filed with the FCSC. She never mentions any reason for the discharge and clearly not Title 22 USCS § 1621 et.
seq. as Defendant's counsel suggests.

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foreign nationals, agreed to split any monies they recovered in a joint prosecution agreement.
When certain Americans received awards from the FCSC pursuant to the LCRA (which could
not be accessed by foreign nationals), the successful claimants refused to share their proceeds
with other members of the group and refused to arbitrate as was required by the joint prosecution
agreement. But the Court held that the pre-existing agreement must be honored, calling any other
result “absurd.”

If the immunity provision is perpetual, individuals who have obtained claims
settlement funds would forever have a cache of money untouchable in any court
proceeding for any purpose For example, a creditor in a bankruptcy proceeding -
- a third party- - would be unable to access any hinds traceable to a Foreign
Claims Settlement Commission award. The Court need not adopt such an
irrational reading of the Act’s immunity provision when its structure supports a
narrower7 more reasonable interpretation

Defendant’s additional claim that this case should be dismissed because this court has no
jurisdiction over Simpson, who lives in Pennsylvania, is patently frivolous. The Amended
Complaint plainly demonstrates the basis for jurisdiction and venue in the Eastern District of
New York. It states that Simpson met7 negotiated7 and executed two retainer agreements in the
Eastern District. Amended Complaint paragraph 3. See Sands Bros. Venture Capital, LLC v
Burris, Schoenberg & Wala'en, and LLP. 28 Mz`sc 3d 1236(A)_

Finally, the procedural error cited by Simpson is de minimis, non-prejudicial, and
excusable; an error which the court has the discretion to pardon. 1 was not the initial attorney on
this case and mistakenly believed, based on the date on a draft complaint in the file, that a
summons and complaint had been first filed, but not served, on September 28, 2015. Thinking l
had 120 days after September 28 to serve, I caused the Amended Complaint to be personally
served on Simpson on January 26, 2016.

Under FRCP 4, (m) for failure to serve within 120 days the court may dismiss the
action without prejudice or order that service be made within a specified time. If Plaintiff shows
good cause for the failure, the court must extend the time for service for an appropriate period.
Defendant Simpson did not suffer any prejudice in being served a month and 20 days after the
due date There is no statute of limitations problem here so if the case is dismissed7 Plaintiff will
simply re-file and re-serve. This would be a waste of time and money and serve no legitimate
purpose.

Mr. Daniel also says that the Amended Complaint was amended without consent thereby
violating FRCP 15. But, pursuant to this rule, a litigant has 21 days after serving a complaint to
amend as a matter of course. Since nothing had ever been served, Plaintiff did not need
permission to amend the original filed but unserved Complaint. ln any case, under FRCP 15.
(a)(2) the Court should freely give leave when justice so requires.

Plaintiff believes that it would be useful in this case to hold a conference to explore
settlement, mediation or in the alternative to set a reasonable briefing schedule.

orna B. Goodman

  

CC (ECF): Hon. Steven l\/l. Gold7 l\/l.J.

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EXHIBIT A

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EXHIBIT B

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CONTINGENT FEE AGREEMENT

l, Sandra .lean Simpson have, since 1999, retained Eric C. Sorenson, Attomey at l_aw, to represent
my interests for the purpose of recovery of damages arising out of the abducticm and confinement of
myself and my late husband, Dr. Mostafa Karim which occurred in 1987-1988 in the Country of
Libya. I hereby agree to have En`c C. Sorenson continue to represent the interests of myself and the
Estate of Mostafa Karim in these same matters.

1 agree to pay Eric Sorenson 33'/,% of the net of all sums recovered in judgith or settlement of
these claims.

l agree to pay my pro-rata share (66 zI]%) of all reasonable expenses that have been incurred to date
and any fixture expenses provided that for those expenses that may exceed 3500, l am informed in
advance of such expenses and 1 deem that they are reasonable Expenses may include legal service
fees, expert witness fees, doctors’ reports, medical records, prioting, postage, transportation other
necessary court and office costs.

lflamnotabletopaysuchexpenseatthetimetheyareincurredandmyattiomeyagreestopayfor
theseexpenses, lageetoenter intoa separatecontmct wherebyl would pledgetoreimburse him
for my portion of such experiseassoon aslam able.

lf no recovery on my behalf is made, l am not liable for momey fees to my attomey, but will agree
to pay for 2/3rds ofthe actual expenses that have been incurred_ lfl terminate my attorney before a
judgment or settlement diat, in fact, does occur, l understand I will be liable for all his expenses and
a reasonable fee for his services.

My attorney agees to send me copies of all documents filed in my case, all correspondence and
any and all other printed materials for my personal file. My attorney will also keep a copy ofall
information for his file. When my anomey has completed all the legal work necessary for my case,
rny attorney will close his file and return all my original documents to me.

My attorney agrees to provide conscientious, competent, and diligent services, and l agree to
cooperate with my attorney and others working on my case by keeping appointmenw, appearing for
depositions, producing documents, attending special court appearances, and making payments as
agrwd. This agreement supersedes all other agreements between En`c Sorenson and Sandra
Simpson.

 

 

WITNESSED DATED: f

